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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                            :
 UNITED STATES OF AMERICA                   :      Case No: 1:21-cr-109
                                            :
                                            :
                                            :      40 U.S.C. § 5104(e)(2)(G)
                                 v.         :
                                            :
 TAM PHAM,                                  :
                                            :
         Defendant.                         :

                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Tam Pham, with the concurrence of his attorney, agree and stipulate to the below factual basis

for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate

that the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

       1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       3.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint


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session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the



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crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

       7.       Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

            Defendant Tam Pham’s Participation in the January 6, 2021, Capitol Riot

       8.       On the morning of January 6, 2021, the defendant attended a speech given by

former President Trump near the White House. After that, he followed people walking toward

the U.S. Capitol.

       9.       The defendant walked over fences on the Capitol grounds that had been

previously knocked over, and saw police officers as he approached the U.S. Capitol Building

with a large crowd of people. He continued to walk past a broken or torn down fence, and he

passed other barricades on his way to the U.S. Capitol Building.

       10.      The defendant entered the U.S. Capitol Building between approximately 2:30 PM

and 2:45 PM. Once inside, he walked into the Rotunda and took photos and videos of himself



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and of the building. He remained inside the U.S. Capitol Building for approximately 10 to 15

minutes. While inside, some people were yelling and some were waving flags. The defendant

posed for a picture in front of a bronze statue of President Gerald Ford in whose arms a flag had

been placed that read, “Trump – 2020 – No More Bullshit.”

       11.     The defendant was a police officer for the Houston Police Department at the time

he entered the U.S. Capitol Building on January 6, 2021. He was not on duty at the time.

       12.     The defendant knew at the time he entered the U.S. Capitol Building that that he

did not have permission to enter the building and the defendant paraded, demonstrated, or

picketed.

                                                     Respectfully submitted,


                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney
                                                     D.C. Bar No. 415793


                                             By:     /s/ Alison B. Prout
                                                     Alison B. Prout
                                                     Assistant United States Attorney




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                           DEFENDANT’S ACKNOWLEDGMENT

       I, Tam Pham, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.
        9/14/2021

Date:__________________               ______________________________
                                     ID JzPxCJhLnRGntoF8kHNEpkUj

                                      Tam Pham
                                      Defendant


                            ATTORNEY’S ACKNOWLEDGMENT

       I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client's desire to adopt this Statement of the Offense as true and accurate.

        9/14/2021

Date:                                ________________________________
                                     ID f6xEhwworm94N5Zh8GG6cM8a


                                     Nicole DeBorde Hochglaube
                                     Attorney for Defendant




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eSignature Details

Signer ID:         JzPxCJhLnRGntoF8kHNEpkUj
Signed by:         Tam Pham
Sent to email:     TamDinhPham@yahoo.com
IP Address:        166.137.115.46
Signed at:         Sep 14 2021, 8:18 am CDT

Signer ID:         f6xEhwworm94N5Zh8GG6cM8a
Signed by:         Nicole DeBorde Hochglaube
Sent to email:     Nicole@HoustonCriminalDefense.com
IP Address:        75.50.49.178
Signed at:         Sep 14 2021, 8:23 am CDT
